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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                                          :
 Nick Gioules                                                             :
                                                                          :        21   CV 06400 (JPC)
                                                 Plaintiff(s),            :
                               -v-                                        :        CIVIL CASE
                                                                          :     MANAGEMENT PLAN
 Antigua Local Pharmacy, LLC et al.                                       :      AND SCHEDULING
                                                 Defendant(s).            :           ORDER
                                                                          :
                                                                          :
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       This Civil Case Management Plan (the “Plan”) is submitted by the parties in accordance
with Rule 26(f)(3) of the Federal Rules of Civil Procedure.

1.      All parties [consent /do not consent ✔ ] to conducting all further proceedings before a
        United States Magistrate Judge, including motions and trial. 28 U.S.C. § 636(c). The
        parties are free to withhold consent without adverse substantive consequences.

2.      Settlement discussions [have          /have not       ] taken place.

3.      The parties [have ✔ /have not           ] conferred pursuant to Rule 26(f) of the Federal Rules of
        Civil Procedure.

4.      Unless a party amends a pleading as a matter of course pursuant to Federal Rule of Civil
        Procedure 15(a)(1), amended pleadings may not be filed and additional parties may not be
        joined except with leave of the Court. Any motion for leave to amend or to join additional
                                  6/1/2022
        parties shall be filed by _______. [Absent exceptional circumstances, a date not more than
        30 days following the date of this Order.]

5.      Initial disclosures pursuant to Rule 26(a)(1) of the Federal Rules of Civil Procedure shall
                                        5/13/2022
        be completed no later than __________        days from the date of this Order. [Absent
        exceptional circumstances, fourteen (14) days.]

6.      Fact Discovery

        a.                                                             9/12/2022
                 All fact discovery shall be completed no later than ____________________.        [A
                 period not to exceed 120 days, unless the Court finds that the case presents unique
                 complexities or other exceptional circumstances.]

        b.       Initial requests for production of documents shall be served by
                 6/1/2022
                 ____________________      .

        c.                                          6/1/2022
                 Interrogatories shall be served by ____________________.
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      d.                                         8/19/2022
               Depositions shall be completed by ____________________.
               (i)     Absent an agreement between the parties or an order from the Court,
                       depositions are not to be held until all parties have responded to initial requests
                       for document production.
               (ii)    There is no priority in deposition by reason of a party’s status as a plaintiff or
                       a defendant.
               (iii)   Absent an agreement between the parties or an order from the Court, non-
                       party depositions shall follow initial party depositions.

      e.       Requests to admit shall be served by ____________________.

      f.       Any of the deadlines in paragraphs 6(b) through 6(e) may be extended by the written
               consent of all parties without application to the Court, provided that all fact discovery
               is completed by the date set forth in paragraph 6(a).

7.    Expert Discovery

      a.       All expert discovery, including expert depositions, shall be completed no later than
               11/12/2022
               ____________________.      [Absent exceptional circumstances, a date forty-five (45)
               days from the date in paragraph 6(a) (i.e., the completion of all fact discovery).]

      b.       Plaintiff’s expert disclosures pursuant to Rule 26(a)(2) of the Federal Rules of Civil
                                                    10/7/2022
               Procedure shall be made on or before ____________________.

      c.       Defendant’s expert disclosures pursuant to Rule 26(a)(2) of the Federal Rules of Civil
                                                    10/7/2022
               Procedure shall be made on or before ____________________.

      d.       The interim deadlines in paragraphs 7(b) and 7(c) may be extended by the written
               consent of all parties without application to the Court, provided that expert discovery
               is completed by the date set forth in paragraph 7(a).

8.    All motions and applications shall be governed by the Court’s Individual Rules and Practices
      in Civil Cases.

9.    Any discovery disputes shall be addressed according to 5.C of the Court’s Individual Rules
      and Practices in Civil Cases.

10.                                         12/1/2022
      All discovery must be completed by ____________________. [This date should be the
      later of the dates in 6(a) and 7(a) above.]

11.   All counsel must meet in person to discuss settlement within fourteen (14) days following the
      close of fact discovery. If the parties believe that a referral to the assigned Magistrate Judge
      for a settlement conference or to the Court-annexed mediation program would assist in these
      discussions, the parties should file a letter with the Court to that effect.


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12.   Unless otherwise ordered by the Court, within thirty (30) days after the close of discovery or,
      if a dispositive motion has been filed, within thirty (30) days of a decision on such motion,
      the parties shall submit a proposed Joint Pretrial Order prepared in accordance with Rule
      26(a)(3) of the Federal Rules of Civil Procedure and 7.B of the Court’s Individual Rules and
      Practices in Civil Cases. The parties shall follow the Court’s Individuals Rules and Practices
      in Civil Cases for any submissions that must be made at the time of the Joint Pretrial Order,
      including any motions in limine.

13.   In accordance with 7.C of the Court’s Individual Rules and Practices in Civil Cases, counsel
      are required to meet and confer on a joint submission of proposed voir dire questions, jury
      instructions, and verdict form, noting any points of disagreement in the joint submission. Jury
      instructions may not be submitted after the Joint Pretrial Order due date, unless they meet the
      standard of Rule 51(a)(2)(A) of the Federal Rules of Civil Procedure. If this action is to be tried
      to the Court, proposed findings of fact and conclusions of law should be submitted on the Joint
      Pretrial Order due date in accordance with 7.D of the Court’s Individual Rules and Practices
      in Civil Cases.

14.   The parties shall be ready for trial as of two weeks following the deadline for the proposed
      Joint Pretrial Order.

15.   This case [is ✔ /is not     ] to be tried to a jury.

16.   Counsel for the parties have conferred and their best estimate of the length of trial is
      2 days
      ____________________.

17.   Other issues to be addressed at the Initial Pretrial Conference, including those set forth in
      Rule 26(f)(3) of the Federal Rules of Civil Procedure, are set forth below.




18.   Next Steps: [To be completed by the Court.]

         The next Case Management Conference is scheduled for ____________________ at
         ____________________.

         The parties shall submit a joint status letter to the Court no later than _____________,
         advising the Court as to whether the parties request a referral to the assigned Magistrate
         Judge for a settlement conference or to the Court-annexed mediation program, whether
         any party plans to file a post-discovery motion, the anticipated grounds for any such
         motion, and the opposing party’s anticipated grounds for opposing the motion. In the
         event any party plans to file a post-discovery motion, the joint status letter will satisfy the
         Court’s pre-motion letter requirement.




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        This Order may not be modified or the dates herein extended, except by further Order of this
Court for good cause shown. Any application to modify or extend the dates herein (except as provided
in paragraph 6(f) and 7(d)) shall be made in a written application in accordance with Court’s
Individual Rules and Practices in Civil Cases and shall be made no less than two (2) business days
prior to the expiration of the date sought to be extended.

         SO ORDERED.

                                                        _________________________
                                                        JOHN P. CRONAN
                                                        United States District Judge
Dated:     _______________
           New York, New York




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